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 5                        UNITED STATES DISTRICT COURT
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 7                             DISTRICT OF NEVADA
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10
11   UNITED STATES OF AMERICA,     )
                                   )
12             Plaintiff,          )
                                   )
13                                 )
        vs                         )            2:12-cr-0004-JCM-GWF
14                                 )
      SHIYANG GOU,                 )
15                                 )
               Defendant,          )
16   ______________________________)
17                 ORDER REQUIRING PAYMENT FOR APPOINTED COUNSEL
18                 Pursuant to the provisions of the Criminal Justice Act,
19   18   U.S.C.    3006A,   Angela Dows,   a   Criminal     Justice    Act    Panel
20   Attorney was appointed as counsel for the above-named defendant on
21   April 5, 2012.
22         Based upon a review of the defendant’s financial affidavit
23   and other relevant inquiry, the Court now finds that the defendant
24   possesses financial resources sufficient to bear some or all of
25   the cost of his or her representation, i.e., funds are available
26   from or on behalf of the defendant for payment of compensation and
27   expenses of court-appointed counsel and/or for other services
28   necessary for adequate representation.          Accordingly, pursuant to
     the provisions of 18 U.S.C. 3006A(f),
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 2        IT IS ORDERED that the defendant shall reimburse the Treasury
 3   of the United States for the cost of his representation at the
 4   rate of $300.00 per month, payable to the Clerk of the Court for
 5   deposit in the Treasury, as follows: the defendant’s first payment
 6   shall be due on May 1, 2012, and subsequent payments due on the 1st
 7   day of each month thereafter until the case has been concluded.
 8   The total amount of reimbursement shall be determined by the Court
 9   at the conclusion of this case.
10        Dated this 5th Day of April, 2012.
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                                C.W. HOFFMAN, JR.,
13                              UNITED STATES MAGISTRATE JUDGE
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